






				



	




NUMBER 13-08-00078-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      


GONZALES HEALTHCARE SYSTEMS,				 Appellant,


v.



COUNTY OF GONZALES, TEXAS AND 

ADVENTIST HEALTH SYSTEM/

SUNBELT HEALTHCARE, INC.,

D/B/A CENTRAL TEXAS MEDICAL CENTER,	                  Appellees.

                                                                                                                                      


On appeal from the 25th District Court of Gonzales County, Texas.

                                                                                                                      


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Benavides


Memorandum Opinion by Justice Yañez
				This is an interlocutory appeal of the trial court's denial of a plea to the jurisdiction
filed by appellant, Gonzales Healthcare Systems, a Texas hospital district ("the District"). 
Based on the Texas Supreme Court's recent decision in Harris County Hospital District v.
Tomball Regional Hospital, we hold that the District is immune from suit. (1)  Accordingly, we
reverse the trial court's judgment denying the District's plea to the jurisdiction, dismiss the
claims against the District, and remand to the trial court for further proceedings .

I.  Background  


	In July 2006, W.L. Johnson, an inmate in the Gonzales County jail, became ill.  He
was taken to Gonzales Memorial Hospital, a facility owned and operated by the District. 
On July 5, 2006, Johnson signed an application for financial assistance under the District's
indigent health care program. (2)  On July 6, 2006, Johnson underwent surgery at Gonzales
Memorial Hospital.  That same day, due to complications of his medical condition, Johnson
was transferred to Central Texas Medical Center ("CTMC") in San Marcos. (3)  Johnson was
not discharged from CTMC until August 3, 2006. (4)  The total charge for Johnson's treatment
at CTMC was $368,448.60. 

	After unsuccessfully seeking payment of the medical claim for Johnson's expenses
from Gonzales County  ("the County") and the District, CTMC sued the County, asserting
various causes of action and seeking a declaratory judgment that the County was liable for
Johnson's medical expenses. (5)  The County filed a counter-claim against CTMC and a
cross-claim against the District, contending that the District was responsible for payment
of Johnson's medical expenses. (6)  CTMC later amended its pleadings, asserting, among
other claims, that the District and the County are jointly and severally liable for payment of
Johnson's expenses and that the District does not have sovereign immunity.  

	The District filed a plea to the jurisdiction, contending that it was "entitled to
governmental immunity against all claims asserted against it."  The District later filed an
amended plea to the jurisdiction, in which it argued that:  (1) it was entitled to governmental
immunity; (2) neither CTMC nor the County had standing to assert any claim against the
District based on Johnson's alleged indigency and any right accruing to him; and (3) based
on the District's discretionary powers, no justiciable controversy existed. (7)

	On January 11, 2008, the trial court held a hearing on the District's plea.  At the
conclusion of the hearing, the trial court stated its opinion that the County was liable for
Johnson's medical expenses prior to July 10, 2006 (the date of his discharge), but after
that date, the District was responsible for all of Johnson's medical expenses.  The trial
court denied the District's plea to the jurisdiction.

	A few days later, the trial court sent a letter to all counsel, setting forth the following
findings and conclusions:

1.  There is no evidence that W.L. Johnston [sic] was not indigent and not a
resident of Gonzales County at any relevant time for this matter.


2.  There is no evidence that there are any relatives or other individuals
legally liable for his support.


3.  Gonzales Hospital District failed to make a determination or contest W.L.
Johnson's indigency at the time of his admission.  (Section 17 of the
enabling statute says that "manager may cause inquiry to his
circumstances"[)].


4.  W.L. Johnson discharged his sentence on July 10, 2006 at 8:30 A.M.


5.  Gonzales Hospital District waived any right to contest W.L. Johnson's
indigency at the time of his admission and assumed the duty to provide
medical care.


6.  Gonzales Hospital District would be responsible for the total cost of W.L.
Johnson's medi[c]al care while in Gonzales County's custody and afterward.


Gonzales Hospital District's plea to the jurisdiction/abatement is DENIED. 
Adventist Health System's motion for partial summary judgment against
Gonzales County is DENIED.  Gonzales County's motion for partial summary
judgment against Adventist Health System is GRANTED.[ (8)]


This interlocutory appeal by the District ensued.  By two issues, the District contends that:
(1) appellees, CTMC and the County, lack standing and their claims against the District are
non-justiciable; and (2) the District has governmental immunity from suit.  Because we find
the District's second issue is dispositive, we address it first.  

II.  Standard of Review and Applicable Law 


	"A party asserting governmental immunity to suit challenges the trial court's
jurisdiction." (9)  "A motion or plea asserting such immunity involves a question of law that we
review de novo." (10)

	As the supreme court recently stated in Tomball: 

Governmental immunity protects political subdivisions of the State from
lawsuits for damages.  Hospital districts have such immunity.  Governmental
immunity, like the doctrine of sovereign immunity to which it is appurtenant,
involves two issues:  whether the State has consented to suit and whether
the State has accepted liability.  Immunity from suit is jurisdictional and bars
suit; immunity from liability is not jurisdictional and protects from judgments. 
Immunity is waived only by clear and unambiguous language. (11)


III.  Discussion



	In Tomball, the supreme court held that a hospital district is immune from suit by a
hospital authority for the recovery of medical expenses for hospital care rendered by the
hospital authority to indigent patients. (12)  The court found that the Legislature has not
waived a hospital district's immunity from suit "either by specific statutory language or by
implication from a constitutional and statutory framework." (13)

	We conclude that the supreme court's holding in Tomball governs this case.  In
Tomball, the supreme court examined chapter 281 of the health and safety code, which 
addresses "hospital districts in counties of at least 190,000." (14)  In the present case,
appellees, the County and CTMC, cite the "sue and be sued" language of section 282.048
of the health and safety code. (15)  Chapter 282 of the health and safety code addresses
"hospital districts in counties of 75,000 or less." (16)  However, we have compared chapters
281 and 282, and find no reason that would limit the supreme court's holding in Tomball
to hospital districts created under chapter 281.  Moreover, since the decision in Tomball,
appellees have filed no supplemental authority distinguishing the case or arguing that it
does not govern the present case. (17)

IV.  Conclusion   


	Based on the supreme court's decision in Tomball, we hold that the District is
immune from suit. (18)  We hold that the trial court did not have jurisdiction over appellees'
claims against the District.  We sustain the District's second issue, reverse the trial court's
judgment denying the District's plea to the jurisdiction, and remand to the trial court for
further proceedings consistent with this opinion. (19)   

						 

								                                               

								LINDA REYNA YAÑEZ,

								Justice



Memorandum Opinion delivered and 

filed this the 22nd day of October, 2009.
1.  Harris County Hosp. Dist. v. Tomball Reg'l Hosp., 283 S.W.3d 838, 841 (Tex. 2009).
2.  The parties disagree over whether the application was complete and other matters.  It is undisputed,
however, that Johnson's application was never processed by the District.  
3.  Adventist Health System/Sunbelt Healthcare, Inc., d/b/a Central Texas Medical Center ("CTMC")
is a non-profit hospital located in Hays County, San Marcos, Texas.  As explained herein, CTMC is an
appellee in this case.  
4.  On July 10, 2006, shortly after Johnson's transfer to CTMC, Gonzales County released him from
custody; Johnson had served approximately half of his 270-day sentence.   
5.  The County is also an appellee in this case.
6.  The County later filed an amended counter-claim against CTMC and cross-claim against the District,
in which it argued, among other things, that the District was wholly responsible for Johnson's medical
expenses and that the District did not have sovereign immunity.
7.  The District subsequently filed a "Supplement and Brief in Support of its First Amended Plea to the
Jurisdiction," in which it elaborated on its sovereign immunity claim and non-justiciability argument.  
8.  We note that the record contains partial motions for summary judgment filed by CTMC and the
County against each other.  The trial court's rulings as to these motions for partial summary judgment are not
before us, and we express no opinion as to those rulings.   
9.  Tomball Reg'l Hosp., 283 S.W.3d at 842. 
10.  Id.  
11.  Id. at 842-43 (citations omitted).
12.  Id. at 841.
13.  Id. 
14.  See Tex. Health &amp; Safety Code Ann. §§ 281.001-.124 (Vernon 2001 &amp; Supp. 2008).
15.  See Tex. Health &amp; Safety Code Ann. § 282.048 (Vernon 2001).
16.  See id. §§ 282.001-.127 (Vernon 2001).
17.   The supreme court's decision in Tomball was issued on May 1, 2009, well after briefing and oral
argument in this case.  See Tomball Reg'l Hosp., 283 S.W.3d at 849.  On May 15, 2009, the District filed
"Supplemental Authority," arguing that the decision "directly addresses" the issue in the present case.  No
response or supplemental authority was submitted by appellees.    
18.  See id.  
19.  Because the District's second issue is dispositive, we need not address its first issue.  See Tex. R.
App. P. 47.1. 


